Case 2:22-cv-12951-MAG-JJCG ECF No. 49, PageID.758 Filed 05/03/23 Page 1 of 3




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION
JILL BABCOCK, et al.,                               Case No. 22-cv-12951
                                                    Hon. Mark A. Goldsmith
       Plaintiffs,

v

STATE OF MICHIGAN, et al.,

      Defendants.
______________________________________________________________________________

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 (517) 292-0067                                   Attorneys for Defendants, Wayne County and
 elizabeth@abdnour.com                            Wayne County Building Authority
 Attorneys for Plaintiff
______________________________________________________________________________


                AMENDED APPEARANCE OF SHARON S. ALMONRODE

       PLEASE TAKE NOTICE that Sharon S. Almonrode of The Miller Law Firm, P.C. hereby

enters her Appearance on behalf of Defendants, Wayne County and Wayne County Building

Authority in the above-captioned matter. Please serve all notices, copies of pleadings, papers and

other relevant materials upon the undersigned.
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                                               Respectfully Submitted,

                                               THE MILLER LAW FIRM, P.C.

                                               /s/ Sharon S. Almonrode
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                                               Authority
Dated: May 3, 2023




                                      2
Case 2:22-cv-12951-MAG-JJCG ECF No. 49, PageID.760 Filed 05/03/23 Page 3 of 3




                           STATES DISTRICT COURT
                        EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION
JILL BABCOCK, et al.,                              Case No. 22-cv-12951
                                                   Hon. Mark A. Goldsmith
       Plaintiffs,

v

STATE OF MICHIGAN, et al.,

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 elizabeth@abdnour.com                           Wayne County Building Authority
 Attorneys for Plaintiff
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                                   PROOF OF SERVICE

       Sharon S. Almonrode certifies that on May 3, 2023, she caused to be served Amended

Notice of Appearance of Sharon S. Almonrode and this Proof of Service upon all counsel of record

via electronic filing system.

                                                           /s/ Sharon S. Almonrode
                                                           Sharon S. Almonrode
Dated: May 3, 2023
